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The Honorable Kimba M. Wood
United States District Judge
United States Courthouse
Southern District of New York

New York, N.Y. 1007 lV EMO ENDORSE )

Re: United States v. Jason Kortbawi
12-Cr-442 (KMW)

Dear Judge Wood:

The parties submit this joint letter to inform the Court that a disposition in Mr.
Kortbawi’s VOSR case has been reached and to request a date for Mr. Kortbawi’s admission to
specifications #6 and #8 of the VOSR and sentencing. Mr. Kortbawi consents to proceed
remotely for this hearing if an in-person proceeding is unavailable. The parties plan to submit
sentencing submissions in advance of the sentencing date and respectfully request that the Court
set a date the week of February 22, 2021. The parties are available any day that week except for

February 26, 2021.

Thank you for your time and consideration.
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Studuled for March |, 203! at J) Ova.

Respectfully Submitted,

 

Defendanw sulomissim js Hat /s
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SO ORDERED: N.Y., N.Y. ifia Jay

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KIMBA M. WOOD
U.S.D.J.
